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 1   XAVIER BECERRA, State Bar No. 118517                    ROMAN M. SILBERFELD, State Bar No. 62783
     Attorney General of California                          GLENN A. DANAS, State Bar No. 270317
 2   MONICA N. ANDERSON, State Bar No. 182970                ROBINS KAPLAN LLP
     Senior Assistant Attorney General                         2049 Century Park East, Suite 3400
 3   ADRIANO HRVATIN, State Bar No. 220909                     Los Angeles, CA 90067-3208
     Supervising Deputy Attorney General                       Telephone: (310) 552-0130
 4   ELISE OWENS THORN, State Bar No. 145931                   Fax: (310) 229-5800
     TYLER V. HEATH, State Bar No. 271478                      E-mail: RSilberfeld@RobinsKaplan.com
 5   KYLE A. LEWIS, State Bar No. 201041                     Special Counsel for Defendants
     LUCAS L. HENNES, State Bar No. 278361
 6   NAMRATA KOTWANI, State Bar No. 308741
     Deputy Attorneys General
 7    1300 I Street, Suite 125
      P.O. Box 944255
 8    Sacramento, CA 94244-2550
      Telephone: (916) 210-7318
 9    Fax: (916) 324-5205
      E-mail: Elise.Thorn@doj.ca.gov
10   Attorneys for Defendants
11
                                 IN THE UNITED STATES DISTRICT COURT
12
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
13
                                            SACRAMENTO DIVISION
14

15

16   RALPH COLEMAN, et al.,                                  Case No. 2:90-cv-00520 KJM-DB (PC)
17                                             Plaintiffs,   DEFENDANTS’ CENSUS, WAITLISTS,
                                                             AND TRANSFER TIMELINES
18                    v.                                     COMPLIANCE REPORTS FOR
                                                             INPATIENT MENTAL HEALTH CARE
19
     GAVIN NEWSOM, et al.,
20
                                             Defendants.
21

22          Defendants California Department of Corrections and Rehabilitation (CDCR) and

23   Department of State Hospitals (DSH) file the attached reports capturing data concerning patient

24   census, waitlists, and compliance with transfer timelines for inpatient mental health care in

25   compliance with the Court’s October 13, 2015 order. (ECF No. 5367.) Attached are letters from

26   CDCR and DSH enclosing the following census and inpatient reports, as modified by the Court’s

27   April 19, 2017 order (ECF No. 5610): (1) DSH CDCR Patient Census and Waitlist Report

28   (Exhibit A); (2) DSH Psychiatric Inpatient Timelines Compliance Report, Patients Admitted
     [3419376.1]                                    1
       Defs.’ Census, Waitlists and Compliance Reports for Inpatient Mental Health Care (2:90-cv-00520 KJM-DB (PC))
     Case 2:90-cv-00520-KJM-DB Document 6990 Filed 12/15/20 Page 2 of 23


 1   November 1 through November 30, 2020 Who Waited Beyond Program Guide Timelines
 2   (Exhibit B); (3); CDCR Psychiatric Inpatient Programs (PIP) Coleman Patient Census and
 3   Waitlist Report as of November 19, 2020 (Exhibit C); (4) CDCR Mental Health Crisis Bed
 4   Coleman Patient Census and Waitlist Report as of November 19, 2020 (Exhibit D); (5)
 5   Psychiatric Inpatient Programs Census Report as of 11/19/20 (Exhibit E); and (6) CDCR Inpatient
 6   Program Referrals: Compliance with Program Guide Timeframes for Acute and Intermediate
 7   Referrals Admitted or Closed in November 2020 (Exhibit F).
 8
       Dated: December 15, 2020                                   XAVIER BECERRA
 9                                                                Attorney General of California
                                                                  ADRIANO HRVATIN
10                                                                Supervising Deputy Attorney General
11
                                                                  /S/ ELISE OWENS THORN
12                                                                Elise Owens Thorn
                                                                  Deputy Attorney General
13                                                                Attorneys for Defendants
14

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28
     [3419376.1]                                           2
       Defs.’ Census, Waitlists and Compliance Reports for Inpatient Mental Health Care (2:90-cv-00520 KJM-DB (PC))
            Case 2:90-cv-00520-KJM-DB Document 6990 Filed 12/15/20 Page 3 of 23
State of California – Department of State Hospitals                       Gavin Newsom, Governor
   Office of the Director
   1600 9th Street, Room 151
   Sacramento, California 95814
   www.dsh.ca.gov




     December 15, 2020

     Adriano Hrvatin, Esq.
     Elise Owens Thorn, Esq.
     California Department of Justice
     455 Golden Gate Avenue, Suite 11000
     San Francisco, CA 94102-5500

     Re:      DEFENDANTS’ CENSUS, WAITLISTS AND TRANSFER TIMELINES
              COMPLIANCE REPORTS FOR INPATIENT MENTAL HEALTH CARE

     Dear Mr. Hrvatin and Ms. Thorn:

     The California Department of State Hospitals (DSH) submits its monthly information on
     patient census, referrals, waitlists, and transfer timeline compliance for inpatient mental
     health care.

     The DSH CDCR Patient Census and Waitlist Report as of November 30, 2020, attached
     as Exhibit A, and the DSH Psychiatric Inpatient Timelines Compliance Report, Patients
     Admitted November 1, 2020 through November 30, 2020 Who Waited Beyond Program
     Guide Timelines, attached as Exhibit B, are based on data from the DSH Bed Utilization
     Management Report.

     The report attached as Exhibit A reflects data collected at a single point in time and, as a
     result, should not be used for purposes outside of that report. The report attached as
     Exhibit B is the compliance report from DSH, which includes requested compliance data
     for all DSH level of care referrals admitted to inpatient care in November 2020, for any
     inmate-patient who waited beyond the timelines specified in the Mental Health Services
     Delivery System Program Guide (2009 Revision) at 12-1-16.
      Case 2:90-cv-00520-KJM-DB Document 6990 Filed 12/15/20 Page 4 of 23
December 15, 2020
Page Two

DSH’s records show that as of November 30, 2020, there were sixteen patients from
facilities with active COVID-19-related holds waiting beyond Program Guide transfer
timelines. A supplemental report on DSH’s pending waitlist, provided to the Special
Master and Plaintiffs via e-mail, shows these patients’ waitlist status. DSH records also
show there were six patients who had COVID-19 holds lifted who were admitted to DSH in
November 2020 beyond thirty days.

                                          Sincerely,

                                          /s/ Stephanie Clendenin
                                          STEPHANIE CLENDENIN
                                          Director
                                          Department of State Hospitals

                   “Caring Today for a Safe and Healthy Tomorrow”
Case 2:90-cv-00520-KJM-DB Document 6990 Filed 12/15/20 Page 5 of 23




             EXHIBIT A
  State of California                                Case 2:90-cv-00520-KJM-DB Document 6990 Filed 12/15/20 Page 6 of 23                                                                                                                             GAVIN NEWSOM, Governor

  DIVISION OF HOSPITAL STRATEGIC PLANNING AND IMPLEMENTATION
  Patient Management Unit
  1600 Ninth Street, Room 420
  Sacramento, CA 95814



                                                                                                            DSH CDCR Patient Census and Waitlist Report
                                                                                                                             Data as of: 11/30/20
  Acute Care Patients
                                                                                                                Beds         Medical Isolation
       DSH Facility - Acute - Female       Bed Capacity             Census              Beds on Hold
                                                                                                       1
                                                                                                                                                    Available Beds                                   Waitlist                                  Total Patients
                                                                                                              Redlined2          Rooms3
                                                                                                                                                                                                                                             Awaiting Admission
                                 6                                                                                                                                       Referrals Pending               Accepted Referrals
                        Patton                   -                      1                     0                    0                  0                    0                                                  4                 5
                                                                                                                                                                              Review              CDCR Prison          CDCR PIP                        0
                         Total                   -                      1                     0                    0                  0                    0                     0                      0                         0       (Includes 0 Waiting >10 Days)


  Intermediate Care Low Custody - Unlocked Dorms

                                                                                                       1        Beds         Medical Isolation                                                                  7
      DSH Facility - Unlocked Dorms        Bed Capacity             Census              Beds on Hold                  2                  3          Available Beds                                   Waitlist                                  Total Patients
                                                                                                              Redlined           Rooms
                                                                                                                                                                                                                                             Awaiting Admission
                    Atascadero                  256                    167                    0                    0                  0                    89            Referrals Pending                   Accepted Referrals
                        Coalinga                 50                    33                     0                    0                  0                    17                 Review              CDCR Prison
                                                                                                                                                                                                                    4
                                                                                                                                                                                                                           CDCR PIP
                                                                                                                                                                                                                                      5
                                                                                                                                                                                                                                                       23
                                                                                                                                                                                                                                            (Includes 16 Waiting >30
                         Total                  306                    200                    0                    0                  0                   106                    3                      19                        1
                                                                                                                                                                                                                                                     Days)8


  Intermediate Care Low Custody - Unlocked Dorms - Female

  DSH Facility - Unlocked Dorms -                                                                               Beds         Medical Isolation
                                           Bed Capacity             Census              Beds on Hold1                 2                  3          Available Beds                                   Waitlist
                                                                                                                                                                                                                7
                                                                                                                                                                                                                                               Total Patients
              Female                                                                                          Redlined           Rooms
                                                                                                                                                                                                                                             Awaiting Admission
                                 6                                                                                                                                       Referrals Pending               Accepted Referrals
                        Patton                   30                     9                     0                    0                  0                    20                                                 4                 5
                                                                                                                                                                              Review              CDCR Prison          CDCR PIP                        1
                         Total                   30                     9                     0                    0                  0                    20                    1                      0                         0       (Includes 0 Waiting >30 Days)

  1
   Beds on hold are assigned for internal patient movement and patients waiting to transfer to DSH. When allocated Coleman beds are at maximum capacity within the facility, beds with patients pending discharge may be placed on hold for accepted patients
  to maximize bed utilization. This may result in negative totals for available beds, but does not necessarily imply exceeding capacity.
  2
      Redlined beds are temporarily unavailable due to repairs.
  3
      Medical isolation rooms are required for licensing and physically differ from the other housing in the program, i.e., have showers or restricted sightlines into the cell, and are deemed inappropriate for everyday use.
  4
      Direct referrals from a CDCR prison for patients awaiting transfer to DSH for inpatient treatment.
  5
    Referrals for patients currently receiving inpatient treatment within a CDCR PIP referred to DSH for stepdown of LRH or Level of Care change.
  6
    Beds at DSH-P are for female patients only.
  7
    Waitlist includes 21 referrals on hold by CDCR.
  8
    Patients waiting >30 days are due to COVID-19 holds on referring facilities, which may include COVID-19 holds recently lifted.




Source: BUMMs                                                                                                                        1 of 1
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             EXHIBIT B
State of California                                                                                                                                                                                            GAVIN NEWSOM, Governor
                                        Case 2:90-cv-00520-KJM-DB Document 6990 Filed 12/15/20 Page 8 of 23
DIVISION OF HOSPITAL STRATEGIC PLANNING AND IMPLEMENTATION
Patient Management Unit
1600 Ninth Street, Room 420
Sacramento, CA 95814




                                                                                 DSH Psychiatric Inpatient Timelines Compliance Report
                                                           Patients Admitted November 1 through November 30, 2020 Who Waited Beyond Program Guide Timelines


                                     Level of Care                                        Patients Waiting Outside Program Guide Timelines3                              Days Waited Outside Program Guide Timelines4

                              Intermediate Care Admissions                                                           6                                                                        228
                                       Subtotal                                                                      6                                                                        228
     Exceptions to Program Guide Timelines - OTC, OTH, and Medical Holds1                                            6                                                                        228
                                                                            2
               Exceptions to Program Guide Timelines - Internal Referrals                                            0                                                                        0
               Total Excluding Exceptions to Program Guide Timelines                                                 0                                                                        0

1
 Includes exceptions to the Program Guide timelines for referrals on hold for patients with out-to-court status, out-to-hospital status, and medical holds.
2
 Includes exceptions to the Program Guide timelines for CDCR patients currently receiving inpatient treatment within a DSH program and have been referred for internal movement within DSH.
3
 Including patients admitted in November 2020 who waited greater than 30 days from the referral received date to DSH for a change in level of care.
4
 Includes the total number of days patients admitted in November 2020 waited beyond 30 days from the referral received date to DSH for a change in level of care.




Source: BUMMs                                                                                                    1 of 2
 State of California                                                                                                                                                                                   GAVIN NEWSOM, Governor
                                               Case 2:90-cv-00520-KJM-DB Document 6990 Filed 12/15/20 Page 9 of 23
 DIVISION OF HOSPITAL STRATEGIC PLANNING AND IMPLEMENTATION
 Patient Management Unit
 1600 Ninth Street, Room 420
 Sacramento, CA 95814




                                                                           DSH Psychiatric Inpatient Timelines Compliance Report
                                                    Patients Admitted November 1 through November 30, 2020 Who Waited Beyond Program Guide Timelines
 Patients Admitted to Intermediate Care
                                                                                       Number of Days
                                                                                                                                               Total Days Waited
                                                    CDCR Direct/       Total Days on       Waited
                       Name               CDCR #                                                         Total Days on Hold   Exclusion Days       Excluding                        Exception Reason(s)
                                                    DSH Internal          Waitlist     Beyond Program
                                                                                                                                                  Exceptions
                                                                                       Guide Timelines
                                                                                                                                                                   COVID-19 Hold. Patient admitted from closed institution
                                                     CDCR Direct           102               72                 102                72                 0
                                                                                                                                                                              using risk assessment criteria
                                                                                                                                                                    COVID-19 Hold. Patient admitted after hold was lifted
                                                     CDCR Direct            74               44                 68                 44                 0
                                                                                                                                                                        and within 5 days of negative COVID-19 test
                                                                                                                                                                   COVID-19 Hold. Patient admitted from closed institution
                                                     CDCR Direct            38               8                  38                  8                 0
                                                                                                                                                                              using risk assessment criteria
                                                                                                                                                                   COVID-19 Hold. Patient admitted from closed institution
                                                     CDCR Direct            85               55                 85                 55                 0
                                                                                                                                                                              using risk assessment criteria
                                                                                                                                                                   COVID-19 Hold. Patient admitted from closed institution
                                                     CDCR Direct            63               33                 63                 33                 0
                                                                                                                                                                              using risk assessment criteria
                                                                                                                                                                   COVID-19 Hold. Patient admitted from closed institution
                                                     CDCR Direct            46               16                 46                 16                 0
                                                                                                                                                                              using risk assessment criteria
   Total Number of Patients Waiting                Total Number of
                                            6                              408              228                 402                228                0                                       -
            Over 30 Days                           Days All Patients




Source: BUMMs                                                                                        2 of 2
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             EXHIBIT C
                                                                                                       CDCR Psychiatric
                                                                                    Case 2:90-cv-00520-KJM-DB           Inpatient
                                                                                                                  Document    6990Programs (PIP)
                                                                                                                                     Filed 12/15/20 Page 11 of 23
                                                                                                   Coleman Patient Census and Waitlist Report as of
                                                                                                                 November 30, 2020
                                                                                                                            Medical
                                                                                           Beds            Beds                            Available
MALE ACUTE PIPs                                        Bed Capacity        Census                                          Isolation
                                                                                         Reserved1       Redlined2                           Beds              Pending             Accepted                              Total Acute Referrals
                                                                                                                            Rooms3                                                                    Total Waitlist
                                                                                                                                                              Referrals4           Referrals5                             Waiting > 10 Days
California Health Care Facility (CHCF)                       147             92              3                0                7              45
California Medical Facility (CMF)                            207             134             6                1                0              66
Total                                                        354             226             9                1                7              111                 83                   0                    83                      6

                                                                                                                            Medical
                                                                                           Beds                                            Available                                                                                                Total Intermediate
MALE INTERMEDIATE LOCKED DORM PIP                      Bed Capacity        Census                     Beds Redlined        Isolation                                               Accepted
                                                                                         Reserved                                            Beds        Pending Referrals                            Total Waitlist                                 Referrals Waiting
                                                                                                                            Rooms                                                  Referrals
                                                                                                                                                                                                                                                        > 30 Days
CMF                                                          84              47              3                0                0               34
Total                                                        84              47              3                0                0               34                 2                    1                    3                                                 0

                                                                                                                            Medical
                                                                                           Beds                                            Available
MALE INTERMEDIATE HIGH CUSTODY PIPs                    Bed Capacity        Census                     Beds Redlined        Isolation
                                                                                         Reserved                                            Beds
                                                                                                                            Rooms
                                                                                                                                                                                                                                                    Total Intermediate
CHCF Single Cell                                             367             345             2                0               11               9                                   Accepted
                                                                                                                                                         Pending Referrals                            Total Waitlist                                 Referrals Waiting
CMF Multi Cell                                               68              45              4                0                0               19                                  Referrals
                                                                                                                                                                                                                                                        > 30 Days
CMF Single Cell                                              105             76              4                0                0               25
SVSP Multi Cell                                              44              35              1                0                0               8
SVSP Single Cell                                             202             159             5                0                0               38
Total                                                        786             660             16               0               11               99                222                   3                   225                                                7

                                                                                                                            Medical
                                                                                           Beds                                            Available
MALE HIGH CUSTODY PIP                                  Bed Capacity        Census                     Beds Redlined        Isolation                                                                                                                Total Intermediate
                                                                                         Reserved                                            Beds                                  Accepted                              Total Acute Referrals
                                                                                                                            Rooms                        Pending Referrals                            Total Waitlist                                 Referrals Waiting
                                                                                                                                                                                   Referrals                              Waiting > 10 Days
CSP, San Quentin (Condemned)                                 30              19              0                0                0               11                                                                                                       > 30 Days
CSP, San Quentin (Non-Condemned)                             10              7               0                0                0               3
Total                                                        40              26              0                0                0               14                 0                    0                    0                       0                         0

                                                                                                                            Medical
                                                                                           Beds                                            Available                                                                                                Total Intermediate
FEMALE HIGH CUSTODY PIP                                Bed Capacity        Census                     Beds Redlined        Isolation                                               Accepted                              Total Acute Referrals
                                                                                         Reserved                                            Beds        Pending Referrals                            Total Waitlist                                 Referrals Waiting
                                                                                                                            Rooms                                                  Referrals                              Waiting > 10 Days
                                                                                                                                                                                                                                                        > 30 Days
California Institution for Women                             45              27              0                0                0               18
Total                                                        45              27              0                0                0               18                 1                    0                    1                       0                         0

                                                                                                                            Medical                                                                                                                 Total Intermediate
                                                                                           Beds                                            Available                               Accepted                              Total Acute Referrals
                                                       Bed Capacity        Census                     Beds Redlined        Isolation                     Pending Referrals                            Total Waitlist                                 Referrals Waiting
                                                                                         Reserved                                            Beds                                  Referrals                              Waiting > 10 Days
                                                                                                                            Rooms                                                                                                                       > 30 Days
GRAND TOTALS - ALL PIPs                                     1309             986             28               1               18              276                308                   4                  312                       6                        7
                                                                                                                                                                                                         6 DSH
1
  Beds Reserved - Beds held or endorsed to by the Health Care Placement Oversight Program (HCPOP) for a specific patient. The referral is either pending clinical acceptance by the PIP or the patient is pending transfer to the PIP.
2
  Beds Redlined - Beds are temporarily unavailable fpr patient placement due to repairs or single cell status (if a two-man cell).
3
  Medical Isolation Rooms - Rooms are required for licensing and physically differ from the other housing cells in the program, i.e., have showers or restricted sightlines into the cell, and are deemed inappropriate for everyday use.
4
  Pending Referrals - Includes all referrals received by the Mental Health Inpatient Referrals Unit (new inpatient referral, level of care transfers, least restrictive housing transfers) that are pending a clinical referral review, least restrictive housing
determination, HCPOP endorsement/bed vacancy, or inpatient program acceptance.
5
  Accepted Referrals - Includes all referrals that have been endorsed to a bed, have been accepted by the inpatient program, and are awaiting transfer.

*There are 6 APP referrals, waiting greater than 10 days, that are pending an exception due to COVID-19.
**There are 7 ICF referral, waiting greater than 30 days, that is pending an exception due to COVID-19.




Data Source: RIPA                                                                                                                                                                                                        CCHCS, Health Care Placement Oversight Program
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             EXHIBIT D
                               Case 2:90-cv-00520-KJM-DB Document 6990 Filed 12/15/20 Page 13 of 23

                                                CDCR Mental Health Crisis Bed
                                        Coleman Patient Census and Waitlist Report as of
                                                     November 30, 2020


                                                                                                                   Total Pending
CDCR MHCB                                                 Beds     Available   Total Pending
                     Bed Capacity          Census                                              Beds Assigned         Referrals
Programs                                                Redlined     Beds        Referrals
                                                                                                                    > 24 hours
Male Programs            427                271            10        146            6                 4                  2
Female Programs          41                  8              0        33             1                 1                  0
            Totals       468                279            10        179            7                 5                  2




Data Source: HEART                                                                        CCHCS, Health Care Placement Oversight Program
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             EXHIBIT E
                                Case 2:90-cv-00520-KJM-DB Document 6990 Filed 12/15/20 Page 15 of 23
                                                                                                                                        Monday, 11/30/2020

                                                                                                                                        Time: 04:30 PM


                                         PSYCHIATRIC INPATIENT PROGRAMS CENSUS REPORT AS OF 11/30/2020
                     Facility                                     Bed Capacity                                    Beds Occupied
                                                                   Male Acute Care Programs
                                            PIP-Vacaville             207              No Score:                                                         2
                                                                                       Level I:                                                          4
                                                                                       Level II:                                                         25
                                                                                       Level III:                                                        25
                                                                                       Level IV                                                          78
                                                                                       Total Census:                                                    134
                                            PIP-Stockton              147              No Score:                                                         2
                                                                                       Level I:                                                          3
                                                                                       Level II:                                                         23
                                                                                       Level III:                                                        10
                                                                                       Level IV                                                          54
                                                                                       Total Census:                                                     92
                                         DSH-Atascadero                0               No Score:                                                         0
                                                                                       Level I:                                                          0
                                                                                       Level II:                                                         0
                                                                                       Level III:                                                        0
                                                                                       Level IV                                                          0
                                                                                       Total Census:                                                     0
              Totals for Male Acute                                   354                                                                               226
                                                     Male Intermediate Care Facility (High Custody) Programs
                                            PIP-Stockton              367              No Score:                                                         1
                                                                                       Level I:                                                          9
                                                                                       Level II:                                                        49
                                                                                       Level III:                                                       30
                                                                                       Level IV                                                        256
                                                                                       Total Census:                                                   345
                                                                                       Total out of LRH:                                               215
                                            PIP-Vacaville             105              No Score:                                                         0
                                                                                       Level I:                                                          2
                                                                                       Level II:                                                        17
                                                                                       Level III:                                                        8
                                                                                       Level IV                                                         49
                                                                                       Total Census:                                                    76
                                                                                       Total out of LRH:                                                34
                                      PIP-Vacaville Multi-             68              No Score:                                                         0
                                             person Cells
                                                                                       Level I:                                                          0
                                                                                       Level II:                                                         4
                                                                                       Level III:                                                        7
                                                                                       Level IV                                                         34
                                                                                       Total Census:                                                    45
                                                                                       Total out of LRH:                                                10




                                                                                                               CCHCS, Health Care Placement Oversight Program
Page 1 of 3                                                                                                    Referrals to Inpatient Programs Application (RIPA)
                               Case 2:90-cv-00520-KJM-DB Document 6990 Filed 12/15/20 Page 16 of 23
                                                                                                                                     Monday, 11/30/2020

                                                                                                                                     Time: 04:30 PM


                                      PSYCHIATRIC INPATIENT PROGRAMS CENSUS REPORT AS OF 11/30/2020
                    Facility                                   Bed Capacity                                    Beds Occupied
                                     PIP-Salinas Valley            202               No Score:                                                        1
                                                                                     Level I:                                                         4
                                                                                     Level II:                                                        22
                                                                                     Level III:                                                       16
                                                                                     Level IV                                                        105
                                                                                     PC 1370:                                                         9
                                                                                     WIC 7301:                                                        2
                                                                                     Total Census:                                                   159
                                                                                     Total out of LRH:                                               67
                  PIP-Salinas Valley Multi-person Cells             44               No Score:                                                        0

                                                                                     Level I:                                                         0
                                                                                     Level II:                                                        4
                                                                                     Level III:                                                       6
                                                                                     Level IV                                                         22
                                                                                     PC 1370:                                                         3
                                                                                     WIC 7301:                                                        0
                                                                                     Total Census:                                                    35
                                                                                     Total out of LRH:                                               10
        Totals for Male ICF High Custody                           786                                                                               660
                                                   Male Intermediate Care Facility (Low Custody) Programs
                                  PIP-Vacaville Dorms               84               No Score:                                                        0
                                                                                     Level I:                                                         1
                                                                                     Level II:                                                        14
                                                                                     Level III:                                                       10
                                                                                     Level IV                                                         22
                                                                                     Total Census:                                                    47
                                                                                     Total out of LRH:                                               13
                                      DSH-Atascadero                256              No Score:                                                        0
                                                                                     Level I:                                                         25
                                                                                     Level II:                                                        94
                                                                                     Level III:                                                       18
                                                                                     Level IV                                                         30
                                                                                     Total Census:                                                   167
                                           DSH-Coalinga             50               No Score:                                                        0
                                                                                     Level I:                                                         3
                                                                                     Level II:                                                        17
                                                                                     Level III:                                                       3
                                                                                     Level IV                                                         10
                                                                                     Total Census:                                                    33
        Totals for Male ICF Low Custody                             390                                                                              247




                                                                                                            CCHCS, Health Care Placement Oversight Program
Page 2 of 3                                                                                                 Referrals to Inpatient Programs Application (RIPA)
                                   Case 2:90-cv-00520-KJM-DB Document 6990 Filed 12/15/20 Page 17 of 23
                                                                                                                                            Monday, 11/30/2020

                                                                                                                                            Time: 04:30 PM


                                            PSYCHIATRIC INPATIENT PROGRAMS CENSUS REPORT AS OF 11/30/2020
                        Facility                                   Bed Capacity                                       Beds Occupied
                                                                         Male Programs
                                            PIP-San Quentin             30               Total Census:                                                      19


                                         PIP-San Quentin                10               No Score:                                                          0
                                         Non-condemned                                   Level I:                                                           1
                                                                                         Level II:                                                          5
                                                                                         Level III:                                                         0
                                                                                         Level IV                                                           1
                                                                                         Total Census:                                                      7
                     Totals for                                         40                                                                                  26
                   Male ICF/Acute
                                                                         Female Programs
                                                DSH-Patton              30               No Score:                                                          0
                                                                                         Level I:                                                           1
                                                                                         Level II:                                                          8
                                                                                         Level III:                                                         0
                                                                                         Level IV                                                           1
                                                                                         Total Census:                                                      10
                      PIP-California Institution for Women              45               No Score:                                                          3

                                                                                         Level I:                                                           2
                                                                                         Level II:                                                          4
                                                                                         Level III:                                                         5
                                                                                         Level IV                                                           13
                                                                                         Total Census:                                                      27
                                                                                         Total out of LRH:                                                  3
              Totals for Female ICF/Acute                                75                                                                                 37
                                                   Total Inpatient Program Capacity and Census - Male and Female
                   GRAND TOTALS                                        1645                                                                                1196




                                                                                                                   CCHCS, Health Care Placement Oversight Program
Page 3 of 3                                                                                                        Referrals to Inpatient Programs Application (RIPA)
Case 2:90-cv-00520-KJM-DB Document 6990 Filed 12/15/20 Page 18 of 23




             EXHIBIT F
                                  Case 2:90-cv-00520-KJM-DB Document 6990 Filed 12/15/20 Page 19 of 23

                                                CDCR INPATIENT PROGRAM REFERRALS:
                           COMPLIANCE WITH PROGRAM GUIDE TIMEFRAMES FOR ACUTE AND INTERMEDIATE REFERRALS
                                               ADMITTED OR CLOSED IN NOVEMBER 2020

                                                                      Patients        Referrals
                                                      Patients
                                                                     Admitted       Resulting in    Exceptions to     Number of    Total Days
      CDCR IDTT                  Total            Admitted Within
                                                                  Outside Program     Rescind,     Program Guide Referrals Out       Out of
     Referral Type              Referrals          Program Guide                                                [2]
                                                                       Guide        Rejection, or  Timeframes       of Compliance Compliance
                                                   Timeframes [1]
                                                                    Timeframes    Parole/Discharge
   Intermediate (ICF)               74                    40                  15                   19                  15                0                0
      Acute (APP)                   38                    16                   9                   13                   9                0                0
        TOTALS                     112                    56                  24                   32                  24                0                0



 [1] Program Guide timeframes: Transfer within 30 days of referral for ICF, or within 10 days of referral for APP. Timeline begins when the completed referral is
 received by the Mental Health Inpatient Referrals Unit (MH IRU); or if accepted at a Department of State Hospitals (DSH) program, upon DSH acceptance.
 [2] Exceptions to the Program Guide timeframes in this report include: medical concerns and those referred that are on out-to-court status, out-to-hospital
 status, and/or on medical or Vitek holds.




Data Source: Referrals to Inpatient Programs Application (RIPA)                                                  CCHCS, Health Care Placement Oversight Program
                                                                            DETAIL OF
                                                       Case 2:90-cv-00520-KJM-DB      APP OUT OF
                                                                                    Document     COMPLIANCE
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                                                                         Date Referral
                                           Referring       IDTT                                Date                                            HCPOP LRH
Referral Referring                                                    Received Complete                                HCPOP LRH                                HCPOP        HCPOP Endorsement
                     CDCR Nbr   LastName   Level Of       Referral                         Referral Sent                                      Determination
 Type Institution                                                         by MHIRU                                    Determination                         Endorsement Rx        Rx Date
                                             Care          Date                             To HCPOP                                              Date
                                                                      (Timeframes Start)
APP     CMF                                MHCB            9/3/2020             9/8/2020     10/29/2020 Acute / preliminary Single Cell       10/29/2020    APP: VPP         10/29/2020 16:03:00
APP     RJD                                MHCB           9/18/2020            9/23/2020     11/18/2020 Acute / preliminary Locked Dorms      11/18/2020    APP: CHCF        11/18/2020 13:16:00
APP     LAC                                MHCB           10/2/2020            10/6/2020      11/6/2020 Acute / preliminary Unlocked Dorms    11/06/2020    APP: VPP         11/06/2020 10:22:00
APP     CHCF                               MHCB           10/2/2020           10/12/2020     10/13/2020 Acute // preliminary
                                                                                                                 p         y Unlocked Dorms   10/13/2020
                                                                                                                                                / /         APP: CHCF        10/13/2020
                                                                                                                                                                               / /      12:22:00
APP     LAC                                MHCB          10/22/2020           10/23/2020      11/6/2020 Acute / preliminary Locked Dorms      11/10/2020    APP: VPP         11/10/2020 13:00:00
APP     CHCF                               MHCB          10/20/2020           10/23/2020     10/27/2020 Acute / preliminary Single Cell       10/27/2020    APP: CHCF        10/27/2020 15:02:00
APP     CMF                                MHCB          10/22/2020           10/26/2020     10/26/2020 Acute / preliminary Locked Dorms      10/26/2020    APP: VPP         10/26/2020 15:29:00
APP     RJD                                MHCB          10/23/2020           10/26/2020     11/18/2020 Acute / preliminary Single Cell       11/18/2020    APP: CHCF        11/18/2020 14:08:00
APP     LAC                                MHCB          10/30/2020           10/30/2020      11/6/2020 Acute / preliminary Unlocked Dorms    11/06/2020    APP: CHCF        11/06/2020 11:15:00
                                                                              DETAIL OF
                                                         Case 2:90-cv-00520-KJM-DB      APP OUT OF
                                                                                      Document     COMPLIANCE
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                                                                                                                                                               Day from    Within   Days over
  HCPPOP            HCPOP         Accepting   Date Placed
                                                                                              Inpatient Program             Comments for           Referral   Referral to Program    Program
Endorsement      Endorsement      Inpatient   on Accepted       Inpatient Program Admitted
                                                                                               Admit Date/Time            DELAY/EXCEPTION           Status    MH IRU and   Guide      Guide
  Location        Date/Time       Program     Referrals List
                                                                                                                                                              Admission Timeframes Timeframes
APP: VPP      10/29/2020 16:03:00 APP: VPP    11/03/2020       APP: VPP                      11/04/2020 10:34:00 EXCEPTION: COVID-19              Admitted            57 N                 47
APP: CHCF     11/18/2020 13:16:00 APP: CHCF   11/19/2020       APP: CHCF                     11/20/2020 14:47:00 EXCEPTION: COVID-19              Admitted            58 N                 48
APP: VPP      11/06/2020 10:22:00 APP: VPP    11/09/2020       APP: VPP                      11/10/2020 15:27:00 EXCEPTION: COVID-19              Admitted            35 N                 25
APP: CHCF     10/13/2020
                / /      12:22:00 APP: CHCF   11/13/2020       APP: CHCF                     11/13/2020 11:29:30 EXCEPTION: COVID-19              Admitted            32 N                 22
APP: VPP      11/10/2020 13:00:00 APP: VPP    11/12/2020       APP: VPP                      11/13/2020 15:20:00 EXCEPTION: COVID-19              Admitted            21 N                 11
APP: CHCF     10/27/2020 15:02:00 APP: CHCF   11/13/2020       APP: CHCF                     11/13/2020 11:29:30 EXCEPTION: COVID-19              Admitted            21 N                 11
APP: VPP      10/26/2020 15:29:00 APP: VPP    10/28/2020       APP: VPP                      11/16/2020 10:43:00 EXCEPTION: COVID-19              Admitted            21 N                 11
APP: CHCF     11/18/2020 14:08:00 APP: CHCF   11/19/2020       APP: CHCF                     11/20/2020 14:46:00 EXCEPTION: COVID-19              Admitted            25 N                 15
APP: CHCF     11/06/2020 11:15:00 APP: CHCF   11/13/2020       APP: CHCF                     11/14/2020 14:34:00 EXCEPTION: COVID-19              Admitted            15 N                  5

                                                                                                                   TOTAL DAYS OUT OF COMPLIANCE                   0
                                                       Case 2:90-cv-00520-KJM-DB Document 6990 Filed 12/15/20 Page 22 of 23
                                                                                DETAIL OF ICF OUT OF COMPLIANCE
                                                                                        NOVEMBER 2020



                                                                                      Date Referral
                                                         Referring    IDTT                                Date                            HCPOP LRH
      Referral      Referring                                                      Received Complete                   HCPOP LRH                                 HCPOP             HCPOP Endorsement
                                 CDCR Nbr   LastName     Level Of    Referral                         Referral Sent                      Determination
       Type        Institution                                                         by MHIRU                       Determination                          Endorsement Rx             Rx Date
                                                           Care       Date                             To HCPOP                              Date
                                                                                   (Timeframes Start)

ICF              CHCF                                  APP             9/3/2020            9/17/2020    11/25/2020 Multi Person Cell   11/25/2020        ICF-High: CHCF            11/25/2020 12:27:00
ICF              SVSP                                  PC1370        10/15/2020           10/16/2020    11/17/2020 Single Cell         11/18/2020        ICF-High: SVPP (Single)   11/18/2020 09:43:00
                                                                                                                   Single Cell         04/01/2020        ICF-High: VPP (Single)    04/01/2020 14:53:00
ICF              RJD                                   EOP-GP         3/27/2020             4/1/2020    11/18/2020 Single Cell         11/18/2020
                                                                                                                                         / /             ICF-High:
                                                                                                                                                               g SVPP( (Single)
                                                                                                                                                                              )    11/18/2020
                                                                                                                                                                                     / /      14:38:00
ICF              RJD                                   MHCB            6/3/2020             6/5/2020    11/18/2020 Locked Dorms        07/03/2020        ICF-High: SVPP (Single)   07/03/2020 15:42:00
ICF              RJD                                   MHCB            7/6/2020             7/7/2020    11/18/2020 Single Cell         11/18/2020        ICF-High: SVPP (Single)   11/18/2020 15:23:00
ICF              CMF                                   APP             7/9/2020            7/10/2020    11/16/2020 Multi Person Cell   11/16/2020        ICF-High: VPP (Single)    11/16/2020 17:18:00
ICF              KVSP                                  MHCB            8/3/2020             8/4/2020     11/4/2020 Single Cell         11/04/2020        ICF-High: SVPP (Single)   11/04/2020 09:28:00
ICF              VSP                                   EOP-GP          8/6/2020            8/11/2020     11/2/2020 Unlocked Dorms      11/02/2020
                                                                                                                                         / /             ICF-Dorms: ASH            11/02/2020
                                                                                                                                                                                     / /      12:24:00
ICF              CMC                                   MHCB           8/21/2020            8/27/2020    10/26/2020 Unlocked Dorms      10/27/2020
                                                                                                                                         / /             ICF-Dorms: CSH            10/27/2020 10:58:00
ICF              CIM                                   MHCB           9/17/2020            9/18/2020     11/2/2020 Unlocked Dorms      11/02/2020        ICF-Dorms: CSH            11/02/2020 12:52:00
ICF              CHCF                                  APP             9/9/2020            9/23/2020     11/3/2020 Multi Person Cell   11/03/2020        ICF-High: CHCF            11/03/2020 13:48:00
ICF              RJD                                   MHCB           9/23/2020            9/28/2020    11/18/2020 Unlocked Dorms      11/18/2020
                                                                                                                                         / /             ICF-High: SVPP (Single)   11/18/2020
                                                                                                                                                                                     / /      15:28:00
ICF              CHCF                                  APP            9/22/2020            9/29/2020    10/12/2020 Unlocked Dorms      10/27/2020        ICF-Dorms: CSH            10/27/2020 15:34:00
ICF              RJD                                   EOP-GP         10/9/2020           10/12/2020    11/18/2020 Locked Dorms        11/18/2020        ICF-High: SVPP (Single)   11/18/2020 16:48:00
ICF              CHCF                                  APP            8/27/2020           10/15/2020    10/15/2020 Single Cell         10/16/2020        ICF-High: CHCF            10/16/2020 08:28:00
                                                                       Case 2:90-cv-00520-KJM-DB Document 6990 Filed 12/15/20 Page 23 of 23
                                                                                                   DETAIL OF ICF OUT OF COMPLIANCE
                                                                                                           NOVEMBER 2020



                                                                                                                                                                                        Day from    Within   Days over
       HCPPOP                   HCPOP                 Accepting           Date Placed
                                                                                             Inpatient Program        Inpatient Program           Comments for              Referral   Referral to Program    Program
     Endorsement             Endorsement              Inpatient           on Accepted
                                                                                                 Admitted              Admit Date/Time          DELAY/EXCEPTION              Status    MH IRU and   Guide      Guide
       Location               Date/Time               Program             Referrals List
                                                                                                                                                                                       Admission Timeframes Timeframes

ICF-High: CHCF            11/25/2020 12:27:00 ICF-High: CHCF              11/25/2020       ICF-High: CHCF            11/25/2020 15:40:00 EXCEPTION: COVID-19             Admitted               69 N                39
ICF-High: SVPP (Single)   11/18/2020 09:43:00 ICF-High: SVPP (Single)     11/18/2020       ICF-High: SVPP (Single)   11/18/2020 09:44:00 EXCEPTION: COVID-19             Admitted               33 N                 3


ICF-High:
      g SVPP( (Single)
                    )     11/18/2020
                            / /      14:38:00 ICF-High: SVPP (Single)     11/19/2020       ICF-High: SVPP (Single)   11/20/2020 17:25:00 EXCEPTION: COVID-19             Admitted              233 N               203
ICF-High: SVPP (Single)   07/03/2020 15:42:00 ICF-High: SVPP (Single)     11/19/2020       ICF-High: SVPP (Single)   11/20/2020 17:25:00 EXCEPTION: COVID-19             Admitted              168 N               138
ICF-High: SVPP (Single)   11/18/2020 15:23:00 ICF-High: SVPP (Single)     11/19/2020       ICF-High: SVPP (Single)   11/20/2020 17:25:00 EXCEPTION: COVID-19             Admitted              136 N               106
ICF-High: VPP (Single)    11/16/2020 17:18:00 ICF-High: VPP (Single)      11/25/2020       ICF-High: VPP (Single)    11/30/2020 09:40:00 EXCEPTION: COVID-19             Admitted              143 N               113
ICF-High: SVPP (Single)   11/04/2020 09:28:00 ICF-High: SVPP (Single)     11/06/2020       ICF-High: SVPP (Single)   11/09/2020 14:30:00 EXCEPTION: COVID-19             Admitted               97 N                67
ICF-Dorms: ASH            11/02/2020
                            / /      12:24:00 ICF-Dorms: ASH              11/02/2020
                                                                            / /            ICF-Dorms: ASH            11/05/2020 13:34:00 EXCEPTION: COVID-19             Admitted               86 N                56
ICF-Dorms: CSH            10/27/2020 10:58:00 ICF-Dorms: CSH              10/27/2020       ICF-Dorms: CSH            11/10/2020 12:12:00 EXCEPTION: COVID-19             Admitted               75 N                45
ICF-Dorms: CSH            11/02/2020 12:52:00 ICF-Dorms: CSH              11/02/2020       ICF-Dorms: CSH            11/03/2020 11:18:00 EXCEPTION: COVID-19             Admitted               46 N                16
ICF-High: CHCF            11/04/2020 12:45:00 ICF-High: CHCF              11/06/2020       ICF-High: CHCF            11/06/2020 12:18:00 EXCEPTION: COVID-19             Admitted               44 N                14
ICF-High: SVPP (Single)   11/18/2020
                            / /      15:28:00 ICF-High: SVPP (Single)     11/19/2020
                                                                            / /            ICF-High: SVPP (Single)   11/20/2020 17:25:00 EXCEPTION: COVID-19             Admitted               53 N                23
ICF-Dorms: CSH            10/27/2020 15:34:00 ICF-Dorms: CSH              11/06/2020       ICF-Dorms: CSH            11/09/2020 15:31:00 EXCEPTION: COVID-19             Admitted               41 N                11
ICF-High: SVPP (Single)   11/18/2020 16:48:00 ICF-High: SVPP (Single)     11/19/2020       ICF-High: SVPP (Single)   11/20/2020 17:25:00 EXCEPTION: COVID-19             Admitted               39 N                 9
ICF-High: CHCF            10/16/2020 08:28:00 ICF-High: CHCF              11/20/2020       ICF-High: CHCF            11/20/2020 15:01:00 EXCEPTION: COVID-19             Admitted               36 N                 6

                                                                                                                                          TOTAL DAYS OUT OF COMPLIANCE                     0
